
21 N.Y.2d 904 (1968)
In the Matter of Isaiah O. Zucker, as Administrator of The Estate of Milton M. Wecht, Deceased, Appellant,
v.
New York City Employees' Retirement System et al., Respondents.
Court of Appeals of the State of New York.
Argued February 19, 1968.
Decided April 3, 1968.
Isaiah O. Zucker, in person, and Louis E. Fishbach for Isaiah O. Zucker, as administrator, appellant.
J. Lee Rankin, Corporation Counsel (Eric J. Byrne and Stanley Buchsbaum of counsel), for respondents.
Concur: Chief Judge FULD and Judges BURKE, SCILEPPI, BERGAN, KEATING, BREITEL and JASEN.
Order affirmed, without costs. Petitioner is, as conceded by respondents, entitled to payment of all benefits under option 4. No opinion.
